        Case 4:11-cr-00186-JMM Document 28 Filed 01/18/12 Page 1 of 1


                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS



UNITED STATES OF AMERICA

Vs.                        CASE NO. 4:11cr00186-01 JMM

MARKETUS LADARRAL LOWE


                                        ORDER

      Following Defendant’s change of plea on January 17, 2012, the Court proceeded with

sentencing. In addition to the term of imprisonment of twenty-four (24) months, the Court

imposed one (1) year supervised release. Pursuant to 18 U.S.C. §3624(c)(e) the term of

supervised release shall run concurrently to any other offense in which a period of

supervised release has been imposed.        Defendant is currently serving a term of

imprisonment imposed in 4:06cr00299-01 BRW, which included a term of supervised

release of three (3) years. In the interest of judicial economy, the one year supervised

release imposed in the above case is hereby withdrawn.

      The Clerk is directed to provide a copy of this order to the United States Probation

Office and the United States Marshals Service.

      IT IS SO ORDERED this 18th day of January, 2012.




                                         UNITED STATES DISTRICT JUDGE
